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                                                                           THREE GATEWAY CENTER
                                                                           100 Mulberry Street, 15th Floor
                                                                           Newark, NJ 07102
                                                                           T: 973.757.1100
                                                                           F: 973.757.1090
                                                                           WALSH.LAW

  Liza M. Walsh
  Direct Dial: (973) 757-1100
  lwalsh@walsh.law

                                                  July 31, 2024
  VIA ECF
  Honorable Leda D. Wettre, U.S.M.J.
  U.S. District Court for the District of New Jersey
  Martin Luther King Jr. Bldg. & U.S. Courthouse
  50 Walnut Street
  Newark, New Jersey 07102

          Re:       United States of America, et al. v Apple Inc.
                    Civil Action No.: 2:24-cv-04055 (JXN-LDW)

  Dear Judge Wettre:

          This firm, together with Kirkland & Ellis LLP and Gibson, Dunn & Crutcher LLP, represents
  Defendant Apple Inc. (“Apple”) in the above-referenced matter. Pursuant to Local Civil Rule
  101.1(c), Apple submits this informal application for the pro hac vice admission of Daniel G.
  Swanson, Cynthia Richman, and Julian W. Kleinbrodt of the law firm Gibson, Dunn & Crutcher
  LLP in this matter. Counsel for Plaintiffs consent to this application.

          In support of this application, enclosed please find the following:

                   Certification of Daniel G. Swanson;
                   Certification of Cynthia Richman;
                   Certification of Julian W. Kleinbrodt;
                   Certification of Liza M. Walsh in support of the application for the pro hac vice
                    admission; and
                   Proposed Consent Order Granting the pro hac vice admission.

         Should the enclosed proposed form of Order meet with Your Honor’s approval, we
  respectfully request that it be entered. Of course, should Your Honor or Your Honor’s staff have
  any questions regarding the within informal application, we are always available.

          We thank the Court for its kind attention to this matter.

                                                 Respectfully submitted,

                                                 s/Liza M. Walsh

                                                 Liza M. Walsh


  Enclosure
  cc:    All Counsel of Record (via ECF and E-Mail)
